         Case 2:03-cr-00355-EEF-SS Document 780 Filed 05/12/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICAN                                 *                   CRIMINAL
                                                                              ACTION
                                                          *
versus                                                    *                   No. 03-355
                                                          *
DERRICK CHRIS GUYOT                                       *                   SECTION “L”



                                     ORDER AND REASONS

         Pending before the Court is Petitioner Derrick Chris Guyot’s Motion to Correct Sentence.

R. Doc. 775. The government opposes the motion. R. Doc. 779. Having considered the parties’

arguments and the applicable law, the Court now rules as follows.

   I. BACKGROUND

         In November 2003, a federal Grand Jury originally returned an eleven count Indictment

against Derrick Chris Guyot (“Mr. Guyot”) and ten co-defendants for violations of the Federal

Controlled Substances Act. R. Doc. 1. In 2004, the government superseded charges, but was unable

to apprehend Guyot until late July 2010. R. Docs. 308, 562. In the interim, Guyot’s co-defendants

either pled guilty or proceeded to trial, and all were convicted. Guyot pled guilty to Count 1 of the

Superseding Indictment pursuant to a plea agreement. R. Docs. 621-22, 635. The district court

sentenced Guyot to 216 months of imprisonment followed by a five (5) year term of supervised

release. R. Doc. 636 at 2-3. Guyot is currently incarcerated at FCI Bennettsville with a projected

release date of January 5, 2028. Once released from federal prison, Mr. Guyot will enter Louisiana

state custody to serve the remainder of his state sentence. R. Doc. 755 at 18.

   II. DISCUSSION

         On January 25, 2023, Mr. Guyot filed the instant pro se motion styled as a motion to correct

                                                  1
       Case 2:03-cr-00355-EEF-SS Document 780 Filed 05/12/23 Page 2 of 2




his sentence. R. Doc. 775. Mr. Guyot asserts that the Bureau of Prisons has miscalculated his

sentence and that he is owed a total credit of 3 years and 6 months of time served which has not

been applied to his sentence. However, as the Government points out, this Court is without

jurisdiction to entertain Mr. Guyot’s petition. If an inmate wishes to challenge the calculation of

his sentence, he must do so by way of a petition under 28 U.S.C. § 2241. Petitions pursuant to §

2241 must be filed in the district that has jurisdiction over the inmate’s custodian, the warden of

his facility. See Rumsfeld v. Padilla, 542 U.S. 426, 434-35 (2004). Because Mr. Guyot is

incarcerated in Edgefield, South Carolina, the United States District Court for the District of South

Carolina would be the proper jurisdiction to consider Mr. Guyot’s § 2241 petition. Accordingly,

Mr. Guyot’s motion must be denied.

   III.      CONCLUSION

          For the foregoing reasons, Mr. Guyot’s motion, R. Doc. 775, is hereby DENIED.


          New Orleans, Louisiana, on this 11th day of May, 2023.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE




                                                 2
